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                                                                               FILED BY                 D.C,

                             U NITED STA TE S D ISTR ICT C O U R T                   Atlo 25 2222
                                                                                       ANGELA E.NOBLE
                             SO UTH ERN D ISTR ICT O F FL OR ID A                     CLEFIK U.S.DlsE c'E
                                                                                    s.D.OF FLA.-FT.I-AUD.
  UN ITED STATES OF A M ERICA ,ex rel.M ichaelZhang
                                                               CA SE N O .:    20cv61735 WPD
                Plaintiff,

  VS.                                                              FIL ED IJN DER SEAL
                                                                PURSUANT TO 31USC j3730(B)(2)
  N OVA SOUTHEASTERN UNIVERSITY,IN C.

                Defendant.


                                          C O M PLA INT

         PlaintiffandRelatox,M ichaelZhang(GûRelator'')bringsthiscivilactiontorecoverdamages
  and civilpenalties on behalf of the United States of Am erica and againstNova Southeastem

  University,lnc.(ûGDefendant''orCtNSU'')arisingfrom thefalsestatementsand falsedaimsmade
  andpresented,and caused to bemqdeand presented,by theDefendantin violation oftheFederal

  FalseClaimsAct,31U.S.C.j3729,etseq.,asnmended(the&W ct'')andin supportstates:

                                       IN TR O DU C TIO N

         1.     This is an action to recoverm oney disbursed by the United States Governm ent

  underTitle IV ofthe HigherEdueation Ad (HEA)to provide Enandalassistance to students
  enrolled in N ova Southeastem University's College of D ental M edicine program ,w hich w as

  fraudulently dem anded and received by D efendantin violation ofthe False Claim sA ct,31U .S.C.

  j3729,etseq.Asdetailedherein,DefendantreceivedmillionsofdollarsinTitleIV fundstopay
  for clinicalcourses where the instrudors did notm eetlegally imposed requirements. Despite

  knowing'
         the instructorsw ere unlicensed and ineligibleto teach such clinicalcoursesinvolving the

  practice of dentistry on patients,Defendantfalsely certified to the Governm entthatit was in

  com pliance w ith applicable statutes and regulations in order to receive financial aid funds.
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#
 ' Tllrough its m aterial false statem ents and fraudulent cottrse of conduct,D efendant know ingly

    caused the Governm entto pay Title IV ftm dsthatN SU w asnotlegally entitled to receive.

                            PAR TIES.JU R ISD IC TIO N .A N D V EN U E

           2.     Relator,M ichael Zhang,w as at a11tim es m aterial a resident of Florida and a

    United States citizen. In the Fall of 2014, he began his graduate studies at the N ova
                                                                                  l
    Southeastem University CollegeofDentalM edicine CW SUCDM '')atitscnmpusin Davie,
    Florida.H e attended N SU CDM through M ay 2018 when he received hisdegree as aD odor

    ofDentalM edicine(11DMD'').Relatorhasdirectandpersonalknowledgetosupportthefacts
    and claim sasdetailed herein.

                  Asrequired undertheFalse ClaimsAct,31U.S.C.j 3730(b)(2),theRelator
    has also provided to the Govenunenta statem ent ofsubstantially a11m aterialevidence and

    inform ation related to this com plaint currently in Relator's possession. This disclosure

    statem ent supports the existence of the subm ission of know ingly false or fraudulent claim s

    forpaym ent,aswellasthe knowing,m aking,using,and causing to bem ade and used,false

    records orstatem entsm aterialto a false orfraudulentclaim underthe False Claim sA ct,in

    violation of31U.S.C.jj3729(a)(1)(A)and (B).
           4.     DefendantNovaSoutheastem University,Inc.(1tNSU'')isaFloridacorporation
    w ith its principalplace ofbusiness and m ain cam pus located at 3301 College A venue,Fort

    Lauderdale,Florida 33314. A m ong others,Defendant owns and operates the College of

    D entalM edicine asreferenced herein.

                  Thisisan actionbroughtpursuanttotheFalseClaim sAct,31U.S.C.jj3729
    cfseq.This Courthassubjectmatterjlzrisdiction overthisaction pursuantto 28 U.S.C.jj
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  1331 and 1345 and 31 U.S.C. j 3732,the latter of which specifically confers original

  jm isdiction on thisCourtforactionsbroughtpursuantto 31U .S.C.j3730.ThisCourthas
  personaljtlrisdiction overtheDefendantbecausetheDefendantcan befoundin andtransacts
  thebusinessthatisthesubjectm atterofthisaction in theSouthernDistrictofFlorida.
         6.     V enue isproperin the U nited StatesD istrictC ourtfor the Southern D istrictof

  Floridapqrsuantto28U.S.C.j 1391(b)and(c)and31U.S.C.j3732(a)becauseD efendant
  m aintainsand operatesitsprim ary cnm puswithin thisdistrict,andm any ofthe actsthatform

  the basisofthisaction occurred in the Southern DistrictofFlorida.

                This case is not based on a ''public disclosure'', but rather is based on the

  knowledge ofRelatorM ichaelZhang,an ''originalsourceb',asthoseterm sare detined in 31

  U.S.C.j3730.
         8.     ThisComplainthasbeenfiledundersealptlrsuantto31U.S.C.j3730andshall
  rem ain undersealforatleastsixty daysand tm tiltheCourtordersotherwise.

         9.     A copy ofthisComplaintisbeing served on theUnited StatesAttorney General

  and the U nited States A ttorney forthe SouthenzD istrictofFlorida.

         10. Anyanda1lconditionsprecedent,includingmsrequired by31U.S.C.j3730,have
  occurred and been satisfied.

                                 FA C T UA L BA C K G R O UN D

         11. Ptzrsuantto TitleIV oftheHigherEducationActof1965(''Title1V''),20U.S.C.

  jj 1070 etseq.,theDepartmentofEducation (''DOE'')providesfinancialassistancein theform
  ofgrants,loans,and interestsubsidiesto help defray the costsofeducation foreligible students

  emolledin qualifying institutions.To be eligibleto participatein TitleIV funding,an institution

  mustenterinto aProgram Pm icipationAgreement('PPA'')withtheDOE.UnderthePPA,the
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  institution certifies,am ong otherthings,com pliance with allstatutory provisions applicable to

  Title 1V , that it w ill provide inform ation pertaining to its adm inistrative and financial

  responsibilitiesto the DOE and theState regulatory bodies,thatitwilluseTitle IV fbmdssolely

  forprogrnm purposesin accordancewith them ogrnm ,andthatitwillcomplywith a1litslnmwial

  obligations,including required reftm ds.

         12.     Participation in Title IV progrnm s is also conditioned upon an institution being

  legally authorized to provide an education program in the State in which the institution is

  physically located and com plying with a11stxte approvaland licensurerequirem ents. 34 C .F.R .

  jj600.4and600.9.TheDOEreliesuponcompliancewithstatelicensingandregulatoty agencies,
  alongwith authorized accreditingagencies,to ensuretheintegrity andquality ofeduoation offered

  by institutionsparticipating in Title IV program s.

         13.     The PPA also requires each institution to establish and m aintain adm inistrative

  procedures and recordsnecessary to ensm eproperand efficientuse ofTitleIV funds,including

  documentation ofeligibility. lndeed,the DOE relieson N SU to asslzre and monitorregulatory

  com pliance w hich is a m aterialcondition to continuing entitlem entto receive said funds.

         14.     Applicableto the tim eperiod atissue in this case.D efendantand D OE entered into

  two successive PPAS: thePPA executedby the Secretary ofDOE on M arch 5,2013 (with an
  expiration dateofDecember31,2017)andthePPA executedbytheSecretaryofDOE onAugust
  16,2018 (with an expiration dateofM arch 31,2024). Allofthefinancialassistanceprograms

  underTitleIV atissuewhosef'undswerepaidtoNSUCDM studentsweresubjecttothetermsand
  conditionsofthese PPASand the applicablestatutesand regulations,including fundspursuantto

  theFederalDirectStudentLoansProgram,20U.S.C.jj 1087aetseq.;34 C.F.R.Part685and
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  DirectPlusLoans,20U.S.C.jj 1078-2 etseq. Fundsprovided by theDOE toadvancethese
  Title IV program saze paid to and adm inistered by eligible institutionsforstudentsenrolled in their

  schoolprogram s.

                 lnstitutions like Defendantmake claims for paym entofTitle IV funds like,for

  exam ple,ftm ds underthe FederalD irect Sm dentLoan program . A sm dent first subm its a Free

  A pplication forFederalStudentA id. Then the instim tion certities thatthe studentis enrolled in

  an eligibleprogrnm and thatlomzpaymentswillbe madein accordance with applicable statutes,

  regulationsand instructions. A ssum ing the sttzdentqualifies,the institution originatesthe loan and

  drawsdownontheloaneachsemesterdirectlyfrom theDOE orthroughaservicer(viatheDOE
  Grants ManagementSystem (G-5)). The institution mustelectronically certify thatthe funds
  requested arebeing expended in accordance w ith thepup ose and conditionsofthe agreem entw ith

  the DOE. The funds are then credited to the student's accotmtforpaymentforthe registered

  N SUCDM courseFork forthatsem ester,including the clinicalcourses. Any appropriate refund

  isduebytheinstitutiondirectlytotheDOE.34 C.F.R.j685.306.
         16.     Thus,in cormection with the paym entofTitle IV funds,the institution m akes a

  claim for paym entby virttze ofits draw dow n requestsw hich thereby certify thatthe educational

  progrnm forw hich the ftm ds al'e soughtisin com pliance w ith applicable statm esand regulations.

  From A ugust2016 tH ough April2020,N SU subm itted hundreds of separate draw dow n requests

  tluough the G -5 system in connection w ith the dentalstudents approved for financialaid.

         17. Defendantoperatesafour-yearprogram foritsDoctorofDentalM edicine(DM D)
  degree.Sinceatleast2016,theannualtuitionaINSUCDM exceeded$60,000,andavastmajority
  ofitsdentalstudentswerereceivingfederalfinancialassistancepursuantto Title IV program s,as
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  âdm inistered by the DOE. Since 2016,Defendanthas received m illions ofdollarsin Title IV

  fundsfrom the D O E in connection w ith the clinicalcourses ofitsD M D program .

          18.     At NSUCDM ,the required cuniculum for the DM D degree is com prised of

  lecttlre,laboratory work,and clinicalcourses.How ever, the lasttw o years ofthe dentalprogram

  m'e alm ostcom pletely com prised ofclinic-based com sew ork thatinvolvesthe pradice ofdentistry

  on actualpatients atN SU CD M 'Steaclling clinics. These clinicalcourses, wlnich aredescribed in

  NSU offkialcom secatalogspublished each year,aretaughtby faculty clinicinstructorsthatare

  responsible for direct supervision of the students while providing dentalservices in the N SU

  teaching facilities.

          19.     Each year,approxim ately 125 studentsseek to graduatewith theirDM D degrees

  from N SUCDM . ln addition,thereal'e about100postdoctoralstudents/residentsseeking degrees

  in dentalspecialties,such as endodontics,oralslzrgery,orthodontics pediatrics, periodontics,and

  prosthodontics. Allofthese predod oraland postdod oralstudentsm ustcom pletethe clinic-based

  colzrsesasan essentialpartofthecurriculum fortheirdegrees.

                  To comply with theirdinicalcoursework,hundredsofdentalsm dentsregistered

  and paid forthe required courses each sem ester consisting of clinicalrotationsand experiential

  servicewithlivepatients.M anyoftheseclinic-basedcoursesspnnnedmultiplesemestexs(totaling
  up to 11credits),with faculty clinicalinstructorsassigned to provide dired supervision in the
  teaching dinics and grades to the dentalstudents forthatcotlrsew ork. The students w ere divided

  into team s,andN SUCDM postedweekly dinicschedulesidentifying the assigned faculty clinical

  instructors,w ith rotating responsibility asteam leaders.

                  D uring the years at issue,N SU CD M operated m ultiple teaehing clinics w hich
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  provided com prehensive dentalcare and treatm entsto actualpatients,including cleaning,tillings,

  crowns,extractions,im plants,etc. The m ain teaching clinic for students in the D M D progrnm ,

  alsoknownasthepre-doctoral(Gûpre-doc'')clinic,islocatedinDavie,Floridaandtheothersatellite
  studentclinics are located in various South Florida locations.

         22.     As setforth in N SU CDM studenthandbooks,a predoctoralstudent is not a

  licensed dentist(perFloridaStatutes,Chapter466)andtherefore,islegally and ethically not
  perm itted to independently practicedentistry. A 11clinicwork by studentsrequiresthe GGdirect

  supervision''of a clinicalfaculty m em ber who is licensed in Florida to practice dentistry

  pursuantto that chapter. lndeed,N SU expressly recognized thatit is a violation of law and

  contrary toN SU nzlesforany unlicensed person to engage in thepractice ofhealth care.

         23.     ltiswellestablished thattherequired ûGdirectsupervision,''which isde/ned in

  FloridaStamte9466.003(8),meansGlsupervisionwhereby adentistdiagnosestheconditionto
  be treated,a dentist authorizes the procedure to be perform ed, a dentist rem ains on the

  prem ises while the procedm es are perform ed,and a dentistapproves the w ork perform ed

  before dism issal of the patient.'' This m eans that the clinicalcoursework by students that

  involved patientcare m ustatalltim esbe perform ed w hiletm derthe directsupervision ofa clinical

  faculty m em ber w ho is licensed to practice dentistry pm suant to Florida Statute,Chapter 466.

  M oreover,Florida doesnothavereciprocity w ith any state and doesnotissue dentallicensesby

  endorsem entorcredentials.

         24.     Thelegaleligibility foran instructorto providethe mandatory directsupervision

  isbased on either(a)adentallicenseissuedtotheinstructorbytheFloridaDepartmentofHealth
  or(b)ateachingpermitissuedtoaftz11timedentalinstnzctorwhoonlypracticesdentistry atthe



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  school's teaching facilities,also issued through the D epartm entofH ealth. R igorous criteria and

  testing m ust be first satisfied by each faculty clinic instructor in order to be becom e eligible,

  including successfully passing the Florida Law sand RulesExam ination.

         25.      DuringtheperiodofAugust2016toM ay 2018(and believed tobecontinuing),
  NSU systematically and consistently assignedineligibleinstructors(who heldnoFloridadental
  licenseandnoFloridateachingpermit)forclinic-based cotlrsework atitsteaching facilities. A
  comprehensive review ofhistoricalNSUCDM clinic schedules(from 2016-2018)revealed that
  morethan20facultyclinicalinstructors(whowereassignedtosupelwiseRelatorandhundredsof
  otherdentalstudentsem olledin clinicalcourses)werenoteligibletoteachsuch coursesbecause
  they lackedthem andatory statelicensing.

         26.     N SU repeatedly m isrepresented the legâlqualifications ofits clinicalfaculty

  instnzctors assigned to its teaching clinics,w hile concealing the serious violations ofFlorida

  licensing requirem ents. N ot only did this violate m aterialconditions of the PPA S and Title

  IV regulations,but italso created a significantrisk to patienthealth and safety.

                 ln blatantviolation of Florida 1aw and institutionalprohibitions,N SU assigned

  ineligible instructorsto handle the day to day dutiesofsupervising studentsinvolved in patient

  exam ination,diagnosis,and treatm ent. In this capadty,these instrud ors them selves engaged in

  the actualpractice of dentistry as dentists,including exam ination,diagnosis,treatm entplmm ing,

  and treatm ent -- m any tim es directly operating with handpieces them selves.At the snm e tim e,

  N SU CD M charged and received Title IV fhnds astuition forthose instructionalservicesbased on

  false statem entsrelating to itsclinicalinstructorsassigned to providedired supervision and serve

  as tenm leaders. Forexam ple'
                              .

         (a) J.G.served as assigned faculty clinicalinstructor and team leaderatthe Pre-doc


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           teaching clinic atN SU 'S cnm pus betw een 2016 and 2018 for clinic-based courses in

           theDMD progrnm that(nvolvedpatientcare. Duringthattime,J.G.wasassigned to
           supervise the coursework for w hich tuition w as received from hundreds of dental

           students (including Relator's tuition for CDM 4411, Clinical Rem ovable
           Prosthodontics 11),butwasnotlicensed to practice dentistry pursuantto Florida
           Statute,Chapter 466 and w as noteligible or legally qualified to serve as an instructor

           forsuch clinicalcourses.

        (b)G.W .served asassigned faculty clinicalinstnlctoratthe Pre-docteaching clinic at
           N SU 'S cam pusbetw een 2016 and 2018 forclinic-based courses in the D M D program

           that involved patient care. D tlring that tim e, G .W .w as assigned to supervise the

           courseworkforwhichtuitionwasreceivedfrom hundredsofdentalstudents(including
           Relator's tuition for CDM 3410,ClinicalFixed Prosthodontics 1),butwas not
           licensed to practice dentistry ptlrsuant to Florida Statute,Chapter 466 and was not

           eligible orlegally qualified to serve asan instructorfor such clinicalcourses.

        (c) M .G.served asassigned faculty clinicalinstructoratthePre-docteaclzing clinicat
           N SU 'S cam pusbetw een 2016 and 2018 forclinic-based courses in the D M D progrnm

           that involved patient care. D uring that tim e, M .G .w as assigned to supervise the

           courseworkforwhichtuitionwasreceivedfrom hundredsofdentalstudents(including
           Relator's tuition forCDM 4500,ClinicalRestorative Dentistry 11),butwasnot
           licensed to practice dentistry pursuant to Florida Statute,Chapter 466 and w as not

           eligibleorlegally qualifed to serveasan instructorofsuch clinicalcotlrses.

        (d)J.N.served as assigned faculty clinicalinstructoratthe Pre-doc teaching clinic at
           N SU 'Scampusbetween 2016 and 2018 forclinic-based coursesin theDM D program



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              that involved patient care. D uring that tim e, J.N . w as assigned to supervise the

              courseworkforwhichtuitionwasreceivedfrom hundredsofdentalstudents(including

              Relator'stuition forCDM 3621,ClinicalEndodontics 1),butwasnotlicensed to
              practice dentistry pursuantto Florida Statute,Chapter 466 and was not eligible or

              legally qualifed to serve as an instructorof such clinicalcourses.

   A sidefrom allow ing rnm pantunlicensed practice ofdentistry detrim entalto patients,N SU CDM 'S

   degree program s deprived its studentsofinstructorsthatm etthe qualifications necessary to teach

   clinicalcolzrses and m isrepresented the quality and nature ofthe instructionalservices.

          28.      In violation of20 U.S.Code j1094(c)(3),Defendantmisrepresented thenatlzre
   and quality of its educational programs, including making misstatements about (a) the
   qualitk ations,licensing,and eligibility ofits faculty assigned as instm ctors forclinical com ses;

   and(b)thefailuretomovidedired supervisionfordinicalcourseworkbydentalstudentsengaged
   in the practice ofdentistry on actualpatients.

                   NSU 'Scondud,certitk ations,and representationswerem adewith knowledge of

   noncom pliance since itis directly responsible forthe veritk ation ofthe credentials of itsclinical

   faculty and for requiring appropriate licensing before practicing health care in its teaohing

   facilities.lndeed,thedean ofthedentalschoolisacttzally charged w ith assessingclinicalinstructor

   qualifications and then subm itting applications for dental teaching perm its upon confirm ing

   satisfaction ofal1prerequisites. See FA C 648-5-7.005.

          30.      DespiteN SU'Sknowledge of,oratleastrecklessdisregard for,theineligibility of

   alargeportion ofitsclinicalfaculty,NSU chargeditsstudentsandreceived f'
                                                                         undsfrom thefederal

   Govem m enttopay tuition forsuch coursesunderTitleIV ofHigherEducation Act. W ith respect

  to each clinicalcourse like CD M 3410,CDM 4410,CD M 4411,and CD M 4500,N SU charged


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   tuition thatexceeded $11,000 (11 credits @ approx.$1000 percredithour)- allpaid forby
   R elator's Title IV f'tm ds. ln actuality,every claim forand receipt ofpaym entof such t'uition in

   conned ion w ith clinical courses since at least 2016,w as m ade under these false pretenses and

   constitutes a false d aim in violation ofthe False Claim s Ad ,as am ended.

                   lndeed, the certifk ations m ade in corm ection w ith its PPA S, and each

   draw dow n request by D efendant since 2016 through the G -5 system constitm ed a false

   certifk ation and false statem entthatis actionable as asserted herein. Had the Governm ent

   known ofthefalseclaim s,falsecertificationsandm isrepresentations,itwould nothavedisbursed

   TitleIV ftmdstoNSU foritsclinicalcoursesdmingthesubjed years.
          32.      D efendantfailed to disclose noncom pliance w ith m aterialrequirem entsand as

   a result,m ade m isleading and false statem ents w ith respect to the educationalprom nm and

   N SU 'S legalentitlem entto paym ent ofTitle IV funds.

                        R ELA TO R DISC O VER S N SU 'S FA LSE CLA IM S

                  Having attended N SUCDM since the fallof2014 untilbis graduation in M ay

   2018,Relatorregisteredandpaid (withTitleIV progrnm f'unds)fornumerousclinicalcoursesin
   corm ection w ith the required curriculllm . N ear the end of his finalsem ester,Relator discovered

   thatnumerousclinicalinstructorsandtenm leaderswerenotlicenseddentists(nordidtheyholda
   teachingpermit).
                  Relator becam e concerned about the nature and quality of N SU 'S educational

   program andthetmlicensedpracticeofhealth carewhichimpactedhim andthevastmajority of
   hisclassm atestaking clinicalcoursesatthe sam etim e. Thiscaused him to delve into historical

  N SU records of assigned clinic instructors, as w ell as com puter reports of patient procedlzres




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   perform ed in corm ection w ith hisclinicalcoursew ork atN SU teaching clinics.

            35.    These recordsestablishedN su 'spervasive and longstanding practice since atleast

   the Fallof2016 ofassigning clinicalfaculty instructorsthatlacked the credentialsrequired by 1aw

   toteach thecourses.W hatism ore,NSU knew oractedwithrecklessdisregard,ofpubliclicensing

   records show ing thatinstructorsassigned to the studentclinicsw ere notlegally perm itted to teach

   such clinicalcolzrses.

            36.    Relatorcom piled and evaluated the clinic instnzctorassignm ents,the Predoc clinic

   schedules,histranscripts,and tuition billing records,treatm entnotes,and otheravailable records.

   A llofthisdocum entation confirm ed the assignm entofover20 legally unqualified and ineligible

   instructorsduring thelasttw o yearsofhisclinicalcotlrsew ork in the D M D program ,forw hich

   N SU charged tuition.

            37.    Contrary to Florida law ,program requirem ents, and institution policy, the

   clinical courses offered each sem ester from 2016-2018 involved ineligible and legally

   unqualified instructors. A 11ofthis isdocum ented in the sm dentand clinic recordsm aintained

   by N SU ,and the follow ing specific exnm ples identified by R elator are illustrative:

      (a)    Relator erlrolled in the clinicalcourse atNSUCDM called CDM 3410,Clinical
             Fixed Prosthodontics 1, w hich is a longitudinal cotlrse spanning three sem esters

              (stzmmer2016,Fall2016,and W inter20.
                                                 7
                                                 17) and cllmulatively worth 11 credits.
             These creditsw ere paid for by Title IV fundsin the form ofD irectPlus and D irect

             U nsubsidized Loans. Per CDM 3410's official cotlrse description in the HPD

              (Hea1th Professions Division)course catalog,a1lclinicalcoursework was to be
              accom plished underthedirectsupervision ofappropriate faculty clinic instructors.




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           Despite these representations about the nam re and quality of the N SU CDM

           program ,N SU assigned instnzctor G .W .to supervise the com sew ork atthe pre-doc

           dinic. Thisinstructorsupervisedthecom sework andprovided an evaluation which

           contributed to the finalgrade in CD M 3410. Relator'scoursew ork included work

           on patientS.B.onNovember10th,2016 (porcelain fusedto metalcrown on t00th
           #18)atthePredocclinic.AtnotimeduringthisclinicalcourseworkdidG.W .hold
           an active license to practice dentistry in Florida or otherw ise hold a dentalteaching

           permit.

     (b)   Relator enrolled in the clinicalcourse atNSUCDM called CDM 4411,Clinical
           R em ovable Prosthodontics ll, w hich is a longim dinal course spnnning three

           semesters(sllmmer2017,Fall2017,andW inter2018)and cumulatively worth 11
           credits. These creditswerepaid forby TitleIV fundsin theform ofDirectPlusand

           D irectU nsubsidized Loans.PerCD M 4411'sofficialcoursedescription in theH PD

           (Hea1th ProfessionsDivision) course catalog,a11clinicalcotlrsework was to be
           accom plished underthe directsupervision ofappropriatefaculty clinic instnzctors.

           D espite these representations about the nature and quality of the N SUCDM

           program ,N SU assigned instructor J.G .to supervise the coursew ork atthe pre-doc

           clinic. This instnzctorsupervised the cotlrsew ork and provided an evaluation w hich

           contributed to the finalgrade in CD M 4411. R elator's coursew ork included w ork

           on patientF.R.on June26,2017 (involving maxillary and mandibularimm ediate
           denmres)atthePredoc clinic.Atnotimeduringthisclinicalcoursework did J.G.
           hold an active license to practice dentistry in Florida or otherw ise hold a dental




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           teaching perm it.

     (c)   Relatorenrolled in the clinicalcotlrse atNSUCDM called CDM 4410,Clinical
           Fixed Prosthodontics 11,which is a longim dinalcourse spanning three sem esters

           (stlmmer2017,Fall2017,and W inter 2018)and cumulatively worth 11 credits.
           These creditswere paid forby Title IV ftm dsin the form ofD irectPlusand Direct

           U nsubsidized Loans. Per CD M 4410's official cotzrse description in the H PD

           (Health Professions Division)course catalog,a11clinicalcoursework wasto be
           accom plished underthe directsupervision ofappropriate faculty clinic instructors.

           D espite these representations about the nature and quality of the N SU CD M

           progrnm ,N SU assigned instructor J.G .to supervise the coursew ork at1he pre-doc

           dinic.Thisinstrudorsupervisedthecom sew ork andprovided an evaluation which

           contributed to the finalgrade in CD M 4410. Relator's com sew ork included work

           on patientS.B.on August17th,2017 (involving an implantsupported bridge#13-
           15)atthePredocclinic.Atnotimedmingthisclinicalcoursework didJ.G.holdan
           ad ive license to prad ice dentistry in Florida or otherw ise hold a dentalteaching

           perm it.

     (d)   Relator em olled in the clinicaleourse atNSUCDM called CDM 4500,Clinical
           Restorative D entistry 1l,which is a longitudinalcourse spnnning three sem esters

           (summer2017,Fall2017,and W inter2018) and cumulatively worth 11 credits.
           These creditswerepaid forby Title IV fundsin the form ofD irectPlusand D irect

           U nsubsidized Loans. Per CDM 4500's offcial course description in the HPD

           (Hea1th Professions Division) course catalog,a11clinicalcoursework was to be
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           accom plished underthe direct supervision ofappropriate faculty clinic instructors.

           D espite these representations about the nature and quality of the N SU CD M

           program ,N SU assigned instm ctorM .G .to supervise the coursew ork atthe pre-doc

           clinic.Thisinstructorsupervisedthecoursework andprovided an evaluation which

           contributed to the finalgrade in CDM 4500. Relator's coursew ork included work

           onpatientS.M .onJanuary 10th,2018(involvingrestorationsonteeth#15and#17)
           atthe Predoc clinic. This included the instructorpersonally operating on patient

           S.M .using ahigh-speed handpiece.A tno tim e during this clinicalcoursew ork did

           M .G .hold an activelicenseto practice dentistry in Florida orotherw ise hold a dental

           teaching perm it.

     (e)   Relator enrolled in the clinicalcourse atNSUCDM called CDM 3621,Clinical
           Endodontics 1,which isa longitudinalcotzrse spanning three semesters(summer
           2016,Fall2016,and W inter2017)and cumulatively worth onecredit. Thiscredit
           w as paid for by Title IV funds in the form ofD irectPlus and D irectU nsubsidized

           Loans.PerCDM 36219softk ialcotzrsedescription intheI-
                                                               IPD (HealthProfessions
           Division)coursecatalog,a11clinicalcomsework wastobeaccomplishedunderthe
           direct supervision of appropriate faculty clinic instructors. D espite these

           representations about the nature and quality of the N SUCDM program , N SU

           assigned instructor J.N .to supervise the coursew ork at the pre-doc clinic. This

           instnzctorsupervised the coursew ork and provided an evaluation which contributed

           to the finalgrade in CDM 3621. Relator's coursew ork included w ork on patient

           L.S.on January 9th,2017 (involving endodontic access and obturation on t00th



                                               15
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             #20) atthe Predoc clinic. This included this instructor personally operating on
             patientS.M .w ith an endodontic file. A tno tim e during thisclinicalcoursew ork did

             J.N .hold an active license to practice dentistry in Florida orotherwise hold a dental

             teaching perm it.

          38.     These are not isolated exam ples. Each day, the clinical cotlrsew ork w as

   accom plished under the direct supervision of faculty instructors and team leaders,w ho w ere

   legally ineligible and unqualified to do so. D uring Relator's clinicalexperiences in his third

   and fourthyearsatNSUCDM (between thesummerof2016and thespring of2018),atany
   given tim e there w ere on average four or five ineligible instructors assigned to clinieal

   coursew ork atthe Pre-doc clinic. A ccordingly,the graduating classes of 2017,2018,2019,

   and 2020 encom passing hundreds of dental students, w ere im pacted by unlicensed and

   ineligible faculty w ho acted as instructors for clinical com ses paid for w ith federal fnnds

   contrary to thepttrposes ofthe Title IV program sand notin accordance w ith the term sthereof.

          39.     A lthough they did not possess the m inim um legal qualifications to teach

   clinicalcotlrsesin theDM lD and othergraduateprograms,unsuspecting students(including
   Relator)andtheDOE paidtuition forsuchnoncompliantcotlrses.Althoughitwasnotentitled
   to the funds,N SU presented claim s for paym entunder the Title IV program sto the D OE for

   the clinical coursew ork of R elator and other N SU CD M students assigned to those sam e

   courses w ho received federalfinancialaid.

          40.     For so m any of its dentalsm dents,D efendant sought and received sttzdent

   Snancialaid fort'uition underTitle IV pror nm s,including the FederalDirectStudentLoan

   Progrnm and theD irectPlusProgrnm ,which in Relator'scase exceeded $240,000,including
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   over 100 credit hours of clinical courses. This w as accom plished through N SU 'S m aterial

   m isrepresentations regarding the nature and quality of its instructional services, false

   certifications ofits progrnm com pliance,and concealm entofm aterialviolations ofstatutory,

   regulatory,and contractualrequirem entsrelating to theirinstnlctionalservices.

                                     CL M M S FO R R EL IEF

                                             C O UN T I
                                 V iolation ofthe False C laim sA ct
                                     31U.S.C.j3729(a)(1)(A)
                                           False C laim s

          41.     Relator realleges and incop orates by reference the allegations m ade in

   Paragraphs 1 tlzrough 40 ofthis C om plaint.

          42.     This is a claim for treble dam ages and penalties under the False Claim s A ct,

   31U.S.C.j3729 etseq.,asnmended.
          43.     TheFalse ClaimsAct,31U.S.C.j 3729(a)(1)(A),providesthat''any person
   w ho know ingly presents,or causesto be presented a false org audulent claim forpaym entor

   approval''isliable to theU nited States G overnm ent. A ''claim ''is defined as ''any requestor

   dem and ... form oney ... w hether ornotthe U nited Stateshastitle to the m oney ... presented

   to an ofscer, em ployee, or agent of the U nited States; or m ade to a .. .grantee,or other

   recipient,ifthe m oney ...is to be spent or used on the G overnm ent's behalf or to advance a

   G overnm ent progrnm or interest, and if the U nited States G overnm ent provides or has

   provided any portion ofthe money (requestedjorwillreimburse such ...grantee,orother
   recipientfor any portion ofthemoney (requestedj.''1d.at(b)(2).''Knowingly''isdefmed as
   actualknow ledge,or in ''deliberate ir orance''or ''recldess disregard''of the truth or falsity

   oftheinformation.1d.at(b)(1).


                                                  17
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          44.     A person who violates 31 U .S.C.j 3729(a)(1)(A) is liable to the federal
   Governm entfor a civilpenalty ofup to $11,000 for each false claim ,plus three tim es the

   nm ountofdnm agessustained by the federalG overnm ent,along w ith the costsofa civilaction

   broughttorecoversuch penaltiesand dnm ages.Id.at(a)(1)& (3);28C.F.R.j 85.3(a).
          45.     Through the acts described above and otherw ise,D efendantand its agents and

   employeesknowingly (orwith recklessdisregardto thetnzth orfalsity thereog submitted or
   caused to be subm itted false claim s to the D O E and Title IV program s for paym ent by the

   U nited States from atleast2016 through 2018,and is believed to continue to do so.

          46.     The U nited States, the D O E, and its fiscal interm ediaries, unaw are of the

   falsity of the records,statem ents,and claim s m ade or subm itted by D efendant and its agents

   and em ployees,paid and continue to pay Defendantforclaim sthatw ould notbepaid ifthe

   tn zth w ere know n.

                  By reason of the D efendant's false records, statem ents, d aim s, and/or

   om issions,the U nited States and the Title IV progrnm have been dnm aged.

          48.     Thus,D efendantviolated the False Claim sA ct,in thatitknow ingly presented

   and caused to be presented false orfraudulentclaim s forpaym entorapproval,in violation of

   31U.S.C.j3729(a)(1)(A).
                                            C O U NT 11

                                 V iolation ofthe False Claim sA ct
                                     31U.S.C.j3729(a)(1)(B)
                                         False Statem ents

          49.     Relator realleges and incom orates by reference the allegations m ade in

   Param aphs 1 through 40 ofthis Com plaint.




                                                lB
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          50.      This is a claim fortreble dam ages and penaltiesunderthe False Claim s Act,

   31U.S.C.j3729etseq.,asnmended.
          51.      Through theactsdescribed above and otherwise,Defendantand itsagentsand

   employeesknowingly (oratleastwithrecklessdisregardtothetruthorfalsitythereog m ade,
   used orcausedto bem adeorused,falserecordsorstatem entsto getfalseorâaudulentclaim s

   paid or approved by the United States 9om atleast2016 through 2018,and isbelieved to

   continue to do so.

                   The United States,D OE,and itsfiscalinterm ediaries,tm aw are ofthe falsity

   ofthe records,statem ents,and claim s m ade or subm itted by D efendant and its agents and

   em ployees,paid and continueto pay D efendantforclaim sthatw ould notbepaid ifthetruth

   w ere know n.

                   By reason of the D efendant's false records, statem ents, claim s, and/or

   om issions,theUnited Statesand theTitle IV program havebeen dnm aged.

         54.       Thus,Defendantviolated theFalse ClaimsAct,in violation of31U.S.C.j
   3729(a)(1)(B).
                                           CO UN T III

                                V iolation ofthe False C laim sA ct
                                    31U.S.C.j3729(a)(1)(G)
                                 Failure to R epay O verpaym ent

                   R elator realleges and incorporates by reference the allegations m ade in

  Paragraphs 1tllrough 40 ofthisCom plaint.

         56.       This is a claim fort'
                                       reble dnm agesand penaltiesunderthe False Claim sA ct,

  31U.S.C.j3729etseq.,asnmended.
         57.       Through the acts described above and otherw ise,D efendantand itsagents and


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    PP



   em ployees know ingly and im properly failed to tim ely repay to the D OE paym entsD efendant

   received fortuition (forinstructionalservicesin cotm ectionwith clinicalcourses)thatshould
   nothave been initially paid by the D OE underTitle IV . D efendants had a legalobligation to

   disclose and refund overpaym entsD efendantreceived w ithin 60 days ofD efendantbecom ing

   aw are ofthe existence ofthe overpaym ent.B y failing to tim ely voluntarily disclose and repay

   these identified overpaym ents,D efendant concealed and avoided an obligation to pay or

   transm itm oney to the governm entin violation ofthe False C laim s A ct.

          58.     By reason oftheD efendant'sfailureto repay overpaym ents,theUnited States

   and the Title IV program have been dam aged in the am ount ofm illions ofdollars.

          59.     Thus,Defendantviolated theFalse ClaimsAct,in violation of31U.S.C.j
   3729(a)(1)(G).
                                             Praver for R elief

   W HEREFORE,Plaintiff/RelatorpraysforjudgmentagainstDefendantasfollows:
                 ThatDefendantceaseanddesist9om violating31U.S.C.j3729et5'cg.;
                 ThattheCourtenterjudgmentagainstDefendantinannmountequaltotlzreetimes
                 the nm ountof dam ages the U nited States has sustained as a result ofD efendant's

                 actions,aswellasa civilpenalty againstDefendantof$11,000 foreach violation

                 of31U.S.C.j3729,
                                .
                 ThattheRelatorbeawardedthemaximum amountallowedpursuantto j3730(d)
                 ofthe CivilFalse Claim sA ct;

          1A?.   Thatthe Relatorbe awarded a11costs and expenses ofthis action,including an

                 award ofattorneys'fees;and




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               That the U nited States and the R elator receive a11 such other relief as the Couzt

               deemsjustandproper.


                                            Jurv D em and

         Pursuant to Rule 38 of the FederalRules of CivilProcedure,Plaintiff/Relator hereby

   demandstrialbyjury.


   DA TED : A ugust25,2020

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